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                                             Certificate Number: RH-25F85018



    BUTTERFLY FINANCIAL EDUCATION, INC.
CERTIFICATE OF COMPLETION
   PERSONAL FINANCIAL
   MANAGEMENT COURSE
                                   RICKY HUFF
                         Bankruptcy case number : 25-40055



I CERTIFY that on March 19, 2025, at 1:13 AM Eastern Standard Time, RICKY
HUFF has completed the Personal Financial Management Course from Butterfly
Financial Education, Inc., an agency approved pursuant to 11 U.S.C. § 111 to
provide debtor education courses in North Carolina, Western District.




                Name:                      Janet L. Swope


                Title:                       President


                Date:                     March 19, 2025
